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9
                                            UNITED STATES DISTRICT COURT
10
                                                 DISTRICT OF NEVADA
11
       Jesus Gonzalez,                                        Case No.: 2:21-cv-01068-APG-BNW
12
13                                      Plaintiff(s),
                                                              Notice of settlement between Plaintiff
                   v.
14                                                            and Experian Information Solutions,
       Clarity Services, Inc. et al,                          Inc.
15
16
                                        Defendant(s).
17
18               The dispute between Jesus Gonzalez (“Plaintiff”) and Experian Information
19   Solutions, Inc. (“Defendant”) has been resolved. Plaintiff anticipates filing
20   dismissal documents as to Plaintiff’s claims against Defendant within 60 days.
21               Dated: ​September 27, 2021.
22              Order                                   Freedom Law Firm
     IT IS ORDERED that the
23   parties must file dismissal
                                                         /s/ Gerardo Avalos           .
24   documents or submit a
                                                        George Haines, Esq.
     joint status report by
25   11/27/2021.                                        Gerardo Avalos, Esq.
       IT IS SO ORDERED
                                                        8985 S. Eastern Ave., Suite 350
26     DATED: 6:26 pm, September 28, 2021
                                                        Las Vegas, Nevada 89123
27     BRENDA WEKSLER
       UNITED STATES MAGISTRATE JUDGE
                                                        Attorney for Plaintiff Jesus Gonzalez
     _____________________
     Notice                                               - ​1 -
